JS 44 (Rev. 10/20)                                    CIVIL Document
                                     Case 2:21-cv-01807-PBT COVER SHEET
                                                                     1 Filed 04/19/21 Page 1 of 9
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                               DEFENDANTS
          Melvin Marshall                                                                                        Geico Casualty Company

    (b)   County of Residence of First Listed Plaintiff                 Philadelphia County                     County of Residence of First Listed Defendant              Spotsylvania County, VA
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                     (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                           THE TRACT OF LAND INVOLVED.

    (c)   Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
           Simon & Simon, PC
           1818 Market St., Suite 2000
           Philadelphia, PA 19103

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                            III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                             (For Diversity Cases Only)                                    and One Box for Defendant)
    1   U.S. Government                       3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
          Plaintiff                                 (U.S. Government Not a Party)                      Citizen of This State          ✖ 1          1      Incorporated or Principal Place         4     4
                                                                                                                                                            of Business In This State

    2   U.S. Government                  ✖    4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5    ✖ 5
          Defendant                                 (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                       Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                         Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                          Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                     TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
    110 Insurance                            PERSONAL INJURY                  PERSONAL INJURY             625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
    120 Marine                               310 Airplane                    365 Personal Injury -            of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
    130 Miller Act                           315 Airplane Product                Product Liability        690 Other                                28 USC 157                        3729(a))
    140 Negotiable Instrument                     Liability                  367 Health Care/                                                                                    400 State Reapportionment
    150 Recovery of Overpayment              320 Assault, Libel &                Pharmaceutical                                                PROPERTY RIGHTS                   410 Antitrust
        & Enforcement of Judgment                 Slander                        Personal Injury                                                820 Copyrights                   430 Banks and Banking
    151 Medicare Act                         330 Federal Employers’              Product Liability                                              830 Patent                       450 Commerce
    152 Recovery of Defaulted                     Liability                  368 Asbestos Personal                                              835 Patent - Abbreviated         460 Deportation
         Student Loans                       340 Marine                          Injury Product                                                     New Drug Application         470 Racketeer Influenced and
         (Excludes Veterans)                 345 Marine Product                  Liability                                                      840 Trademark                        Corrupt Organizations
    153 Recovery of Overpayment                   Liability                 PERSONAL PROPERTY                      LABOR                        880 Defend Trade Secrets         480 Consumer Credit
        of Veteran’s Benefits        ✖       350 Motor Vehicle               370 Other Fraud              710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
    160 Stockholders’ Suits                  355 Motor Vehicle               371 Truth in Lending             Act                                                                485 Telephone Consumer
    190 Other Contract                           Product Liability           380 Other Personal           720 Labor/Management                 SOCIAL SECURITY                       Protection Act
    195 Contract Product Liability           360 Other Personal                  Property Damage              Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
    196 Franchise                                Injury                      385 Property Damage          740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                             362 Personal Injury -               Product Liability        751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                                 Medical Malpractice                                          Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
        REAL PROPERTY                          CIVIL RIGHTS                 PRISONER PETITIONS            790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
    210 Land Condemnation                    440 Other Civil Rights          Habeas Corpus:               791 Employee Retirement                                                893 Environmental Matters
    220 Foreclosure                          441 Voting                      463 Alien Detainee               Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
    230 Rent Lease & Ejectment               442 Employment                  510 Motions to Vacate                                             870 Taxes (U.S. Plaintiff             Act
    240 Torts to Land                        443 Housing/                        Sentence                                                           or Defendant)                896 Arbitration
    245 Tort Product Liability                   Accommodations              530 General                                                       871 IRS—Third Party               899 Administrative Procedure
    290 All Other Real Property              445 Amer. w/Disabilities -      535 Death Penalty                IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                                 Employment                  Other:                       462 Naturalization Application                                             Agency Decision
                                             446 Amer. w/Disabilities -      540 Mandamus & Other         465 Other Immigration                                                  950 Constitutionality of
                                                 Other                       550 Civil Rights                 Actions                                                                State Statutes
                                             448 Education                   555 Prison Condition
                                                                             560 Civil Detainee -
                                                                                 Conditions of
                                                                                 Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                          3      Remanded from              4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
      Proceeding             State Court                                  Appellate Court              Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                                   (specify)                 Transfer                          Direct File
                                              Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                              28 U.S.C. § 1391(a) (1) and (2)
VI. CAUSE OF ACTION                           Brief description of cause:
                                              Motor Vehicle Accident
VII. REQUESTED IN                                  CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                                    UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:                 ✖   Yes          No
VIII. RELATED CASE(S)
                                                  (See instructions):
      IF ANY                                                               JUDGE                                                               DOCKET NUMBER
DATE                                                                         SIGNATURE OF ATTORNEY OF RECORD
04/19/2021
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                         APPLYING IFP                                    JUDGE                           MAG. JUDGE
                              Case 2:21-cv-01807-PBT   Document
                                                UNITED STATES     1 Filed
                                                              DISTRICT    04/19/21 Page 2 of 9
                                                                       COURT
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                                          Melvin Marshall - 1021 S 4th St., Apt. 2004
Address of Plaintiff: ______________________________________________________________________________________________
                        Geico Casualty Company - One Geico Blvd., Fredericksburg, VA 22412
Address of Defendant: ____________________________________________________________________________________________
                                             intersection of Tasker St. & S 32ndSt., in Philadelphia, PA.
Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                     Judge: _________________________________                     Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                    No   ✔
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                    No   ✔
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier
       numbered case pending or within one year previously terminated action of this court?
                                                                                                                                Yes                    No   ✔
4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                    No    ✔
       case filed by the same individual?

I certify that, to my knowledge, the within case             is / x is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
           04/19/2021
DATE: __________________________________                                     Must sign here
                                                             __________________________________________                                   201798
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                                Attorney I.D. # (if applicable)


CIVIL: (Place a √ in one category only)

A.            Federal Question Cases:                                                       B.   Diversity Jurisdiction Cases:

      1.     Indemnity Contract, Marine Contract, and All Other Contracts                      1.    Insurance Contract and Other Contracts
      2.     FELA                                                                              2.    Airplane Personal Injury
      3.     Jones Act-Personal Injury                                                         3.    Assault, Defamation
      4.     Antitrust                                                                         4.    Marine Personal Injury
      5.     Patent                                                                        
                                                                                            ✔    5.    Motor Vehicle Personal Injury
      6.     Labor-Management Relations                                                        6.    Other Personal Injury (Please specify): _____________________
      7.     Civil Rights                                                                      7.    Products Liability
      8.     Habeas Corpus                                                                     8.    Products Liability – Asbestos
      9.     Securities Act(s) Cases                                                           9.    All other Diversity Cases
      10.    Social Security Review Cases                                                             (Please specify): ____________________________________________
      11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                            ARBITRATION CERTIFICATION
                                                  (The effect of this certification is to remove the case from eligibility for arbitration.)

                Marc Simon
I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:

     
     ✔        Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

             Relief other than monetary damages is sought.


           04/19/2021
DATE: __________________________________                                   Sign here if applicable
                                                             __________________________________________                                   201798
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (5/2018)
                    Case 2:21-cv-01807-PBT Document 1 Filed 04/19/21 Page 3 of 9
                              IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                           CASE MANAGEMENT TRACK DESIGNATION FORM
                                                        :                          CIVIL ACTION
           Melvin Marshall                              :
                             v.                         :
                                                        :
Geico Casualty Company                                  :                          NO.

      In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
      plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
      filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
      side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
      designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
      the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
      to which that defendant believes the case should be assigned.

      SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
      (a) Habeas Corpus – Cases brought under 28 U.S.C. § 2241 through § 2255.                             ( )

      (b) Social Security – Cases requesting review of a decision of the Secretary of Health
          and Human Services denying plaintiff Social Security Benefits.                                   ( )

      (c) Arbitration – Cases required to be designated for arbitration under Local Civil Rule 53.2.       ( )

      (d) Asbestos – Cases involving claims for personal injury or property damage from
          exposure to asbestos.                                                                            ( )

      (e) Special Management – Cases that do not fall into tracks (a) through (d) that are
          commonly referred to as complex and that need special or intense management by
          the court. (See reverse side of this form for a detailed explanation of special
          management cases.)                                                                               ( )

      (f) Standard Management – Cases that do not fall into any one of the other tracks.                   (; )


         04/19/2021                    0DUF6LPRQ                              Melvin Marshall
      Date                               Attorney-at-law                       Attorney for
                                                       0DUF6LPRQ#JRVLPRQFRP

      Telephone                           FAX Number                           E-Mail Address


      (Civ. 660) 10/02
            Case 2:21-cv-01807-PBT Document 1 Filed 04/19/21 Page 4 of 9




                     UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF PENNSYLVANIA
_____________________________________
Melvin Marshall                      :
         th
1021 S 4 St., Apt. 2004              :
Philadelphia, PA 19147               :              #                                          __
                           Plaintiff :
                                     :
v.                                   :
                                     :
Geico Casualty Company               :
One Geico Blvd.                      :
 Fredericksburg, VA 22412            :
                           Defendant :

                                          COMPLAINT

                                            PARTIES

       1.      Plaintiff, Melvin Marshall, is a resident of the Commonwealth of Pennsylvania,

residing at the address listed in the caption of this Complaint.

       2.      Upon information and belief, Defendant, Geico Casualty Company, is a corporate

entity authorized to conduct business in the State of Virginia, with a business address listed in the

caption of this complaint.

       3.      Defendant, Geico Casualty Company, was at all times material hereto, an

insurance company, duly authorized and licensed to practice its profession by the Commonwealth

of Pennsylvania, and was engaged in the practice of providing insurance policies, including but

not limited to motor vehicle liability policies including underinsured and uninsured motorist

coverage.

                                JURISDICTION AND VENUE

       4.      This Court has jurisdiction over the parties and subject matter of this Civil

Action-Complaint in that the Plaintiff is a citizen of Pennsylvania and the Defendant, upon

information and belief is a corporate entity with its principal place of business in Virginia and
             Case 2:21-cv-01807-PBT Document 1 Filed 04/19/21 Page 5 of 9




the amount in controversy in this case, exclusive of interest and costs, exceeds the sum of

$75,000.

        5.      Venue is proper in this jurisdiction pursuant to 28 U.S.C. § 1391(a) (1) and (2) in

that this is a judicial district in which a substantial part of the events or omissions giving rise to

the claims asserted in this Complaint occurred in this judicial district.

                                               FACTS

        6.      On or about November 3, 2020, at approximately 4:00 p.m., Plaintiff was the

operator of a motor vehicle, which was traveling at or near the intersection of Tasker St. & S 32nd

St., in Philadelphia, PA.

        7.      At the same date and time, tortfeasor, Kassian R. Elliot, was the operator of a

motor vehicle which was traveling at or near the aforesaid intersection and/or location of

plaintiff’s vehicle.

        8.      At or about the same date and time, tortfeasor’s vehicle was involved in a motor

vehicle collision with Plaintiff’s vehicle.

        9.      The aforesaid motor vehicle collision was the direct result of the tortfeasor

negligently and/or carelessly operating his/her vehicle in such a manner so as to strike Plaintiff’s

vehicle.

        10.     The aforesaid motor vehicle collision was the result of the negligence and/or

carelessness of the tortfeasor and not the result of any action or failure to act by the Plaintiff.

        11.     As a result of the accident, the Plaintiff suffered serious, severe and permanent

bodily injuries, including 7 fractured ribs on the right side, compression fracture of the spine,

hemothorax, multiple liver lacerations and a right renal laceration, as well as injuries to the back

and neck as set forth more fully below.
          Case 2:21-cv-01807-PBT Document 1 Filed 04/19/21 Page 6 of 9




                                         COUNT I
                         Melvin Marshall v. Geico Casualty Company
                               Uninsured Motorists Coverage

       12.     Plaintiff incorporates the allegations set forth in the above paragraphs of this

Complaint, as if set forth at length herein.

       13.     The negligence and/or carelessness of the tortfeasor, which was the direct and sole

cause of the aforesaid motor vehicle accident and the injuries and damages sustained by the

Plaintiff, consisted of the following:

                  a.   Striking Plaintiff’s vehicle, after running a stop sign, pushing the Plaintiff’s

                       vehicle into a tree;

                  b.   Failing to yield the right-of-way;

                  c.   Operating his/her vehicle into Plaintiff’s lane of travel;

                  d.    Failing to maintain proper distance between vehicles;

                  e.   Operating said vehicle in a negligent and/or careless manner as to strike

                       Plaintiff’s vehicle without regard for the rights or safety of plaintiff or

                       others;

                  f.   Failing to have said vehicle under proper and adequate control;

                  g.   Operating said vehicle at a dangerous and excessive rate of speed under

                       the circumstances;

                  h.   Violation of the “assured clear distance ahead” rule;

                  i.   Failure to keep a proper lookout;

                  j.    Failure to apply brakes earlier to stop the vehicle without striking

                       Plaintiff’s vehicle;

                  k.   Being inattentive to his/her duties as an operator of a motor vehicle;
          Case 2:21-cv-01807-PBT Document 1 Filed 04/19/21 Page 7 of 9




                  l.    Disregarding traffic lanes, patterns, and other devices;

                  m. Driving at a high rate of speed which was high and dangerous for

                        conditions;

                  n.    Failing to remain continually alert while operating said vehicle;

                  o.    Failing to perceive the highly apparent danger to others which the actions

                        and/or inactions posed;

                  p.    Failing to give Plaintiff meaningful warning signs concerning the

                        impending collision;

                  r.    Failing to be highly vigilant and maintain sufficient control of said vehicle

                        and to bring it to a stop on the shortest possible notice;

                  s.    Operating said vehicle with disregard for the rights of Plaintiff, even

                        though he/she was aware or should have been aware of the presence of

                        Plaintiff and the threat of harm posed to him/her;

                  t.    Continuing to operate the vehicle in a direction towards Plaintiff’s vehicle

                        when he/she saw, or in the exercise of reasonable diligence, should have

                        seen, that further operation in that direction would result in a collision.

        14.     As a direct result of the negligent conduct of the tortfeasor, the Plaintiff suffered

various serious and permanent personal injuries, serious impairment of bodily function,

permanent serious disfigurement, aggravation of certain injuries and/or other ills and injuries

including 7 fractured ribs on the right side, compression fracture of the spine, hemothorax,

multiple liver lacerations and a right renal laceration, all to Plaintiff’s great loss and detriment.

        15.      As a result of these injuries, all of which are permanent in nature and all of which

are to Plaintiff’s great financial detriment and loss, Plaintiff has in the past, is presently and may
          Case 2:21-cv-01807-PBT Document 1 Filed 04/19/21 Page 8 of 9




in the future suffer great anguish, sickness and agony and will continue to suffer for an indefinite

time into the future.

       16.      As an additional result of the carelessness and negligence of the tortfeasor,

Plaintiff has suffered emotional injuries, along with the physical injuries suffered.

       17.      As a further result of the aforesaid injuries, Plaintiff has in the past, is presently

and may in the future undergo a great loss of earnings and/or earning capacity, all to Plaintiff’s

further loss and detriment.

       18.     Upon information and belief, the aforesaid tortfeasor, was operating a vehicle

which was not covered by any policy of insurance to provide coverage for Plaintiff’s injuries.

       19.     If it is found that the averment set forth in the immediately preceding paragraph of

Plaintiff’s Complaint is true, then Plaintiff asserts an Uninsured Motorist Claim against

Defendant.

       20.     At the date and time of the aforementioned motor vehicle collision, Plaintiff, was

the owner and operator of a motor vehicle was covered by a policy of insurance, under Policy

Number 4280-21-24-91 which included uninsured motorist coverage.

       21.     The aforesaid policy of insurance issued by Defendant, provides for uninsured

motorist coverage applicable to Plaintiff as a result of the aforesaid motor vehicle collision to the

above named Plaintiff.

       22.     Accordingly, if the averments set forth above are found to be true, Plaintiff hereby

asserts a claim against Defendant, for uninsured motorist benefits arising out of the above-stated

automobile collision.
          Case 2:21-cv-01807-PBT Document 1 Filed 04/19/21 Page 9 of 9




       WHEREFORE, Plaintiff, Melvin Marshall, demands judgment in Plaintiff’s favor and

against Defendant, Geico Casualty Company, in an amount in excess of Seventy-Five Thousand

($75,000.00) Dollars, plus all costs and other relief this court deems necessary.

                                                     SIMON & SIMON, P.C.

                                      BY:________________________________
                                                  Marc I. Simon, Esquire
